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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
      v.                               )   1:17-cr-00073-JAW-07
                                       )
DIANA DAVIS                            )


                  ORDER AFFIRMING THE
       RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

      No objections having been filed to the Magistrate Judge’s Recommended

Decision filed November 3, 2017 (ECF No. 351), the Recommended Decision is

accepted.

      Accordingly, it is hereby ORDERED that the Defendant’s Motion to Suppress

(ECF No. 280) be and hereby is GRANTED.


                                       /s/ John A. Woodcock, Jr.
                                       JOHN A. WOODCOCK, JR.
                                       UNITED STATES DISTRICT JUDGE

Dated this 9th day of November, 2017
